Case 1:25-cv-00255-RDA-WBP        Document 5-7     Filed 02/12/25   Page 1 of 2 PageID# 118




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION

   ELECTRONIC PRIVACY INFORMATION CENTER;
   1519 New Hampshire Avenue NW,
   Washington, D.C. 20036

   DOE 1;

        Plaintiffs,

        v.

   U.S. OFFICE OF PERSONNEL MANAGEMENT
   1900 E Street NW
   Washington, D.C. 20415

   CHARLES EZELL, in his official capacity as Acting          Civil No. 1:25-cv-00255
   Director of the Office of Personnel Management;
   1900 E Street NW
   Washington, D.C. 20415

   U.S. DEPARTMENT OF THE TREASURY
   1500 Pennsylvania Avenue NW
   Washington, D.C.

   SCOTT BESSENT, in his official capacity as
   Secretary of the Treasury;
   1500 Pennsylvania Avenue NW
   Washington, D.C. 20220

   U.S. DOGE SERVICE;
   736 Jackson Place NW
   Washington, DC 20503

   ACTING U.S. DOGE SERVICE ADMINISTRATOR
   736 Jackson Place
   Washington, D.C. 20503

   U.S. DOGE SERVICE TEMPORARY
   ORGANIZATION;
   736 Jackson Place
   Washington, D.C. 20503

        Defendants.
Case 1:25-cv-00255-RDA-WBP          Document 5-7      Filed 02/12/25     Page 2 of 2 PageID# 119




                                     [PROPOSED] ORDER

         Upon consideration of Plaintiff’s Motion for a Temporary Restraining Order, the

  Memorandum of Law in Support, and the entire record hereisn, it is this ____ day of February,

  2025, hereby

         ORDERED that Plaintiff’s Motion is GRANTED.



  __________________                          _________________________________________
  Date                                        UNITED STATES DISTRICT COURT JUDGE
